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 5   Attorney for Defendant,
     VALENTIN RAMIREZ-CARDINEZ
 6

 7

 8                     IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,            ) CR. No. 09-380-WBS
                                          )
12
          Plaintiff,                      )
                                          ) STIPULATION AND (PROPOSED)ORDER
13                                        ) FOR CONTINUANCE OF SENTENCING
     v.                                   )
14                                        )
     VALENTIN RAMIREZ-CARDINEZ,           )
15                                        )
                                          )
16        Defendants.                     )
                                          )
17                                        )
                                          )
18                                        )
19

20        Defendant, VALENTIN RAMIREZ-CARDINEZ, through his attorney
21
     ROBERT L. FORKNER, together with the United States of America
22
     through its undersigned counsel, MICHAEL M. BECKWITH, Assistant
23
     United States Attorney, hereby stipulate and request the
24
     following:
25
          1.     That the Court continue the sentencing in the above-
26
     captioned case from September 17, 2012, to October 9, 2012, at
27
     9:30 a.m.
28

                             STIPULATION AND PROPOSED ORDER

                                          - 1 -
          Case 2:09-cr-00380-WBS Document 204 Filed 09/18/12 Page 2 of 3



 1       2.    Defense counsel has six, in-custody Preliminary
 2   Hearings scheduled on September 17, 2012 in Stanislaus County
 3   Superior Court and cannot be present in the above-captioned
 4   matter in Federal Court.
 5       3.    Further, defense counsel has not reviewed the
 6   presentencing report with Mr. Ramirez-Cardenas with a certified
 7   interpreter.   As such, defense counsel requests the continuance
 8   in order to allow a complete review of the Report from Probation
 9   with the defendant, and to file the potential objections before
10   the currently scheduled date.
11        For these reasons, the parties stipulate and request that
12   the Court exclude time within which the trial must commence
13   under the Speedy Trial Act from September 17, 2012 through
14   October 9, 2012, for defense preparation under 18 U.S.C.
15   § 3161(h)(8)(B)(ii) and (iv).
16   IT IS SO STIPULATED.
17

18   Dated:   September 13, 2012                 /s/ Robert L. Forkner
                                                 ROBERT L. FORKNER
19
                                                 Attorney for Defendant
20                                               VALENTIN RAMIREZ-CARDINAS

21   Dated:   September 13, 2012                 BENJAMIN B. WAGNER
                                                 United States Attorney
22

23
                                                 by: /s/ Michael Beckwith
24                                               MICHAEL BECKWITH
                                                 Assistant U.S. Attorney
25

26

27

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                            STIPULATION AND PROPOSED ORDER

                                         - 2 -
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     VALENTIN RAMIREZ-CARDENAS
 6

 7

 8                     IN THE UNITED STATES DISTRICT COURT
 9                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,            ) CR. No. 09-380-WBS
11                                        )
          Plaintiff,                      ) ORDER TO
12                                        ) CONTINUE SENTENCING
                                          )
13   v.                                   )
                                          )
14
     VALENTIN RAMIREZ-CARDINAS,           )
                                          )
15                                        )
          Defendants.                     )
16                                        )
                                          )
17                                        )
                                          )
18

19
     IT IS SO ORDERED.
20

21   Dated:    September 14, 2012

22

23

24

25

26

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                             STIPULATION AND PROPOSED ORDER

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